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8                                  UNITED STATES DISTRICT COURT

9                                CENTRAL DISTRICT OF CALIFORNIA

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11    DENNIS MAYFIELD,                      )        Case No. CV 97-3742 FMO
                                            )
12                       Petitioner,        )
                                            )
13                 v.                       )        FINAL JUDGMENT
                                            )
14    RON DAVIS, Warden of California State )
      Prison at San Quentin,                )
15                                          )
                         Respondent.        )
16                                          )

17          In light of the respondent’s Notice of Compliance filed on October 2, 2020, (Dkt. 330, Notice

18    of Compliance), IT IS ADJUDGED THAT the above-captioned action is dismissed with prejudice.

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20    Dated this 16th day of October, 2020.

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22                                                                        /s/
                                                                   Fernando M. Olguin
23                                                              United States District Judge

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